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                       IN THE UNITED STATES DISTRICT COURT

                      FOR THE SOUTHERN DISTRICT OF GEORGIA

                                 STATESBORO DIVISION

UNITED STATES OF AMERICA                   )
                                           )
              v.                           )       CR 616-010
                                           )
CHRISTOPHER GAGE FLOYD                     )

                                DETENTION ORDER

       Defendant, with the advice of counsel, waived his right to request release on bond at

his arraignment. In the event of a change in circumstances such that Defendant wants to

invoke his right to a detention hearing under 18 U.S.C. § 3142, defense counsel must notify

the Court by filing an application for bond. Defendant is committed to the custody of the

Attorney General or his designated representative for confinement in a corrections facility

separate, to the extent practicable, from persons awaiting or serving sentences or being held

in custody pending appeal. Defendant shall be afforded a reasonable opportunity for private

consultation with defense counsel. On order of a court of the United States or on request of

any attorney for the Government, the person in charge of the corrections facility shall deliver

Defendant to the United States Marshal for the purpose of an appearance in connection with

a court proceeding.

       SO ORDERED this 11th day of July, 2016, at Augusta, Georgia.
